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9    Attorneys for BRIAN WAYNE WENDT
10
                            IN THE UNITED STATES DISTRICT COURT
11
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
                                   SAN FRANCISCO DIVISION
13
14   UNITED STATES OF AMERICA,                      Case No. CR-17-00533-EMC

15           Plaintiff,                             MOTION TO EXCLUDE
                                                    GOVERNMENT’S PROPOSED
16   vs.                                            ENTERPRISE EXPERTS’ OPINION
                                                    TESTIMONY AND FOR RELATED
17   JONATHAN JOSEPH NELSON, et al.,                EVIDENTIARY HEARING
18           Defendants.                            Date: April 1, 2020
                                                    Time: 9:30AM
19                                                  Dept: The Honorable Edward M. Chen,
                                                          District Judge
20
21   TO: THIS HONORABLE COURT; TO COUNSEL FOR THE GOVERNMENT; TO

22   COUNSEL FOR CO-DEFENDANTS:

23           BRIAN WENDT, through counsel, moves the Court to exclude the opinion

24   testimony of the Government’s proposed law enforcement “enterprise” experts, Brandon

25   Austin and Jeremy Scheetz on the following grounds and to grant a hearing to permit

26   rulings on the objections:

27           1.     The proposed testimony does not satisfy the requirement of reliability under

28   F.R.E. 702 and Kumho Tire.

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1           2.     The Government has mischaracterized wide-ranging opinions regarding
2    enterprise, purpose, and motive as opinions related narrowly to “symbols.”
3           3.     The opinion-based “history” of the HAMC should be excluded as it was in
4    the Northern District’s “NF” case.
5           4.     The Government’s proposed opinions constitute an “impermissible
6    shortcut” effectively using these law enforcement agents as “surrogate prosecutors.”
7           5.     The Government’s experts indicate they rely on hearsay of varying types of
8    unverified journalism and biographies, unattributed interviews, and general information
9    about investigations.
10          6.     The proposed opinions include speculation about mental states and
11   conditions that constitute elements of the crimes charged which are prohibited by
12   limitations imposed by F.R.E. 703 and 704(b) and by F.R.E. 404(a) and (b) and 403.
13          7.     Both Deputy Austin and Mr. Scheetz indicate in their expert disclosures
14   that they rely on statements and opinions of others for which they provide no
15   corroboration.
16          8.     The proposed experts, especially Deputy Austin, raise the “two hats”
17   problem, creating potential for confusion for the jury because of his role as an
18   investigator and his role as an expert.
19          9.     Deputy Austin and Mr. Scheetz overlap substantially and, if the Court
20   overrules the defense objections, it should not permit redundancy and cumulative
21   evidence.
22          10.    Some of the opinions are simple statements which do not require expertise
23   and therefore will not assist the trier-of-fact as defined by F.R.E. 702.
24          The motion is based on this statement of the motion; on the contents of the Court’s
25   files and records; on all grounds set forth in the appended memorandum of points and
26   authorities which is incorporated here by reference as though fully set forth below, on the
27   text of any supporting exhibits, as well as on any argument and authorities as may be
28   provided to the Court at the time of any hearing on this motion.

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1    Dated: March 17, 2020             Respectfully Submitted,
2                                      MARTIN ANTONIO SABELLI
                                       JOHN T. PHILIPSBORN
3
4                                        /s/ John T. Philipsborn
                                       JOHN T. PHILIPSBORN
5                                      Attorneys for Brian Wayne Wendt
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         MOTION TO EXCLUDE GOVERNMENT’S PROPOSED ENTERPRISE EXPERTS’ OPINION
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1                                         PROOF OF SERVICE
2
             I, Melissa Stern, declare:
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            That I am over the age of 18, employed in the County of San Francisco,
4
     California, and not a party to the within action; my business address is Suite 350, 507
5    Polk Street, San Francisco, California 94102.
6
             On March 17, 2020, I served the within document entitled:
7
             MOTION TO EXCLUDE GOVERNMENT’S PROPOSED ENTERPRISE
8
             EXPERTS’ OPINION TESTIMONY AND FOR RELATED EVIDENTIARY
9            HEARING
10
     ( )     By placing a true copy thereof enclosed in a sealed envelope with postage thereon
11           fully prepaid, in the United States Mail at San Francisco, CA, addressed as set
             forth below;
12
13   (X)     By electronically transmitting a true copy thereof through the Court’s ECF system;
14
     ( )     By having a messenger personally deliver a true copy thereof to the person and/or
15                office of the person at the address set forth below.
16
17           AUSA Kevin Barry
             AUSA Ajay Krishnamurthy
18
19           All defense counsel through ECF
20
             Executed this March 17, 2020, at San Francisco, California.
21
                                           Signed:    /s/ Melissa Stern
22
                                                      Melissa Stern
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           MOTION TO EXCLUDE GOVERNMENT’S PROPOSED ENTERPRISE EXPERTS’ OPINION
                      TESTIMONY AND FOR RELATED EVIDENTIARY HEARING
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